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Exhibit A

Nd oN DIP.

Mental Health Considerations for Segregated Inmates

Jeffrey L. Metzner, MD, PC
_ Clinical Professor of Psychiatry
University of Colorado Health Sciences Center

' The scientific. literature i is sparse concerning ‘the impact of locking an”
inmate in an isolated cell for an average of 23 hours per day with limited
human interaction, minimal or no programming, and in an environment that

- ig desigried to exert maximum control over the individual. Mental health
clinicians.working in such facilities frequently report that it is not uncommon

-to observe many inmates, who do not have. pre-existing serious mental
disorders, to develop irritability, anxiety and. other dysphoric symptoms when
housed in these units for long periods of time (Metzner 2002).

Zinger and Wichmann (1999). provide a very useful literature review
relevant to the psychological effects of 60 days in segregation. They point out
the literature in this area is conflicting, filled with speculations, and often
based upon far-fetched extrapolations and generalizations. Methodological
shortcomings apparent from reviewing the literature include reliance on
anecdotal evidence, wide variation regarding the conditions of confinement
present in different prisons, and an over-reliance on field and laboratory

" experiments pertinent to sensory deprivation.

Zubek, Bayer, and Shephard (1969) conceptualize seprépation units to
have three main chatacteristics: social. isolation, sensory deprivation, and
confinement. Each of these elements can vary ‘significantly as will different.
inmates’ ‘responses to the segregation experience, | In ‘general, _ the
decreased/altered social interactions for inmates in segregation housing units
appear to be more of a problem from a mental health perspective in contrast
to sensory deprivation. Many of the milieus in | such units are characterized by
sensory over-stimulation (e.g., inmates yelling for communication purposes or
for other reasons). Radios and television sets, which 1 may be available in these
housing units, can eliminate or dectease sensory deprivation, although the
severe disruption in normal social interactions remains a problem (Metzner

. 2002). -

The difficulties of providing appropriate and adequate access to mental

health care and’ treatment are especially problematic in any segregation

environment, related to logistical issues that frequently include inadequate
office space and limited access to inmates related to security issues. In

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Coftectional Mental Health Cate: Standards and ai

cotrectioinal settings ‘with inadequate mental health séivices, it is often not
difficult to find inmates with serious mental illnesses in segregation housing
units because. their untreated mental | illnesses often result. in significant,
behavioral problems. oe

There is general consensus among clinicians that placement of ‘inmates. ©
with serious mental illnesses in settings with “extreme isolation” is contraindi-
cated because many of these inmates’ psychiatric conditions will clinically
' deteriorate or not improve (W. otk Group on Schizophrenia, 1997). In othér
words, many inmates with serious: mental illnesses : are harmed when placed i in.
such settings. In addition to potential. litigation, : this is one of the main reasons -
_ that ani increasing number of the 'so-called supermax: facilities exclude inmates.

with serious mental illnesses from admission.

_A mental health screening process, which should include screening
assessments at the sending facility and the receiving facility with the Segrega-
tion housing units, is a recommended mechanism to identify. i inmates with.
serious mental illnesses in a.timely fashion. In addition to inmates with serious’ .
mental illnesses, developmentally delayed inmates are ‘usually excluded from
, admission ' to extreme isolation housing,. unless a specialized mental health.
program exists within the institution similar to residential treatment programs
for general population inmates with serious mental illnesses (Metzner, 1998;
Haddad, 1999).

Regardless « of the policy relevant to admission or exclusion of inmates
with serious mental illnesses, mental health staff should regularly perform
rounds in all the housing units within a supermax as.a further mental health ©
screening procedure. This screening process. is -necessary because: it is
frequently: not possible to predict a particular i inimate’s reaction to confinemént
in a ségtegation unit characterized by extreme isolation. Establishment of a
mental health liaison consultation model with the correctional and health cate:
staffs, along. with thé rounds proces, will facilitate timely identification of |
inmates exhibiting acute symptoms of mental illness and the provision of
appropriate clitiical interventions.

Similar rounds should be performed ona regular basis by health care
staff, preferably mental health staff, in other segregation housing units as_
summarized in the Standards, The NCCHC Standards provide | guidance
relevant to thé ‘definition of ‘ ‘regular rounds” based of the nature of the
segregation housing unit. If the monitoring is not done by mental health staff,
training should be provided to the health care staff providing. the. ¢ monitoring
relevant to pertinent mental health issues.

"In providing essential mental health.services in segregation housing, a
task force of the American Psychiatric Association recommended. that the
following principles should be observed:

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Appendix D

No inmate should be placed in segregation housing solely because he or
she exhibits the symptoms of mental illness, unless there is an immediate and
serious danger for which there is no other reasonable alternative. (This

principle does not refer to medical or. psychiatric seclusion, which should

follow state mental health law and professional practice.)
When an inmate is placed in ségregated housing for appropriate
~ correctional reasons, the facility remains responsible for meeting all of the
serious medical and psychiatric needs of that inmate. Thus, such inmates must
receive any mental health services that are deemed essential, their segregation
status notwithstanding. a
Inmates who are in current, severe psychiatric crisis, including but not
limited to actite psychosis and suicidal depression, should be removed from —
segregation until such time as they are psychologically able to tolerate that
setting. So
Inmates who are known to have serious mental health needs, especially
those with a known history of serious and persistent mental illness, when
housed in segregation, must be assessed ona regular basis by qualified mental
~ health practitioners, to identify and respond to emerging crises at the earliest
possible moment. oe ,
Institutions should provide for regular rounds by a qualified mental
health clinician in all segregation housing units. During these rounds, each
inmate should be visited briefly so that any emerging problem can be assessed.
The clinician should also communicate with segregation security staff in order
to identify any inmate who appears to be showing signs of mental deteriora-
tion or psychological problems (American Psychiatric Association, 2000). _

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Exhibit B

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STATE OF CALIFORNIA—DEPARTMENT OF CORRECTIONS AND REHABILIT. ATION ARNOLD SCHWARZENEGGER, GOVERNOR

SSS remeron -

DIVISION OF CORRECTIONAL HEALTH CARE SERVICES
P.O. Box 942883

Sacramento, CA 94283-0001

September 5, 2006

J. Michael Keating, Jr. via: Lisa Tillman

Office of the Special Master Deputy Attorney General
285 Terrace. Avenue Department of Justice .
‘Riverside, RI 02915 . 1300 I Street, Suite 125

P. O. Box 944255
Sacramento, CA 94244-2550 |

_ RE: DRAFT ADMINISTRATIVE SEGREGATION UNIT SUICIDE
PREVENTION PLAN —

Dear Mr. Keating: . .
Please find enclosed the Draft Administrative Segregation Unit Suicide Prevention Plan.

Please contact Doug McKeever, if you have any questions or concerns at (916) 327-1168.

"46 A L—_

PETER FARBER-SZEKRENYI, DR. PH. JOHN DOVEY

Director Director

Division of Correctional Health Care Services Division of Adult Insti tions
Enclosure

ce: Kathleen Keeshen, Chief Deputy Counsel, Office of Legal Affairs
~ John Dovey, Director, Division of Adult Institutions
_ Doug McKeever, Program Director, Mental Health Program, DCHCS
Teresa Schwartz, Associate Director, Division of Adult Institutions
Brigid Hanson, Deputy Director, DCHCS
Shama Chaiken, Ph.D., Chief Psychologist, Mental Health Program, DCHCS
Michael Stone, Staff Counsel, Correctional Law Unit, Office of Legal Affairs

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ADMINISTRATIVE SEGREGATION UNIT
SUICIDE PREVENTION PLAN

OVERVIEW OF COURT ORDER

On May 9, 2006 the Coleman Special Master filed the Report on Suicides Completed in the

California Department of Corrections [and Rehabilitation] in Calendar Year 2004. The Special

Master recommended that the Department be required to: .
“develop by May 31, 2006 a plan for dealing with the escalating percentage of
suicides occurring in administrative segregation units. The plan must be based

- on an. analysis of the causes for the increasing rate and, depending on the
outcome of the analysis, provide adequate resources of mental health and/or

_ custody staff, create sufficient confidential interview space and/or enhance the
quality of mental'‘health services provided in administrative Segregation units.”

The California Department of Corrections and Rehabilitation (the Department) responded to the
recommendation by requesting to collaborate with the Special Master’s experts, and to extend.
the completion of the plan by requesting the Court adopt August 31, 2006 as the date for
completion of the plan.

Plaintiff s. counsel filed a series of responses to the report and requested that the Department
obtain the necessary funding to implement any plan .in September 2006, collaborate with
- Plaintiff's suicide expert, and include a schedule for implementation within the plan.

On. June 8, 2006 Judge Karlton issued an order adopting the recommendation of the Special
‘Master and the timeframe of August 31, 2006 for completion of the plan. He ordered the
Department to:

“...include, as appropriate, a budget and implementation schedule for any policy
and procedure changes, staffing or budget augmentation, and, if necessary,
include a mechanism for obtaining mid-year funding on or before September 30,
2006.”

In the course of discussions with Plaintiffs’ counsel, the Department agreed to submit a draft of
the plan by September 5, 2006 and Plaintiffs’ counsel agreed to permit an extension of the
deadline for submission of the firial plan to October 2, 2006. The Court approved the request for
an extension of the deadline. oo

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. DESCRIPTION OF ANALYSIS OF CONTRIBUTING FACTORS RELATED TO SUICIDES IN
ADMINISTRATIVE SEGREGATION UNIT

The Department’s Division of Correctional Health Care Services Suicide Prevention and
Response Focused Improvement Team met in early June and identified a methodology for the
analysis of causes (contributing factors) of increased suicides in Administrative Segregation
Units and the preparation of a plan for submission to the Coleman court. The process included
an in-house analysis of identifiable common factors of all Administrative Segregation Unit

. suicides in 2004, and an external consultation with a panel including the Special Master’s
experts, the plaintiff's expert, and California Department of Corrections and Rehabilitation’s ,
experts. In addition, the Suicide Prevention and Response Focused Improvement Team
undertook a review of ideas or initiatives focused on Administrative Segregation Unit suicide
risk. reduction that have not been implemented, and identified current policies that have been
partially implemented.

The Suicide Prevention and Response Focused Improvement Team met to reach consensus about
general.areas to investigate in the analysis-of contributing factors to. Administrative Segregation
Unit suicides. The Suicide Prevention and Response Focused Improvement Team identified five .
major areas (contributing factors) that can contribute to an Administrative Segregation Unit
suicide, including: mental health treatment issues; family/external social issues; custodial factors;
in-prison. safety/social issues; substance abuse issues; and “other” (see Attachment A). Each
factor had several components identified by the Suicide Prevention and, Response Focused
Improvement Team. Subsequently, acting as independent. reviewers, two members of the
Division of Correctional Health Care Services senior mental health. staff read each report of a
suicide in Administrative Segregation Unit during 2004. The reviewers identified and tallied the
number of times a general factor and its secondary components appeared in the report as
contributing factors leading to the inmate’s suicide. The reviewers conferred to identify
contributing factors that each had identified. Finally, the reviewers compared their findings to
those in the Special Master’s expert report for each suicide. At the end of the process the tallies
for each major contributing factor and its components were totaled to identify the most
prominent contributing factors that were identified in the reports (and in Dr. Patterson’s reviews)
as leading to the suicide of the inmate.

The most frequent factors identified by the reviewers were (listed from most to least frequently
identified): Mental Health, Custodial Factors, In-Prison/Safety, Other Issues, Family/External
Issues. Within the Mental Health factor the most frequently identified secondary factor was.
inadequate suicide risk or mental health assessments, underestimation of acuity, lack of referral
to a higher level of care, decompensation, and poor follow-up. Custodial issues included change
_in commitment time, the fact of Administrative Segregation Unit placement, and other factors
such as District Attorney referrals, long Administrative Segregation Unit term, imposition of
Security Housing Unit term, or violent rules violation.. In-prison Safety/Social Issues
encompassed fearfulness, reports of being threatened by others, and removal ofa peer group.

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Simultaneously with the review of 2004 suicides in Administrative Segregation Unit, the Suicide
Prevention and Response Focused Improvement Team reviewed its meeting minutes, Action
Item Log, and suicide prevention policy memoranda from the past two years to identify practices
and policies that either had not been implemented or had been partially implemented to be part of
the presentation to the expert consensus panel. .

DESCRIPTION OF EXPERTS MEETING

The expert panel was conceived as a method to bring together subject-matter experts in suicide
"prevention and to reach consensus on a number of areas and actions to assist the Department in
. developing the court-ordered plan. oo

The Department sponsored three experts from around the nation: John Stoner, Ph.D., Colorado
Department of Corrections; Thomas White, Ph.D., formerly Federal Bureau of Prisons; and Bill
Kissel, M.S., formerly Georgia Department of Corrections. All three have been involved in
training in suicide prevention, correctional mental health service delivery, and prison litigation.
- Plaintiffs expert was Lindsay Hayes, M.S. of the National Center for Institutions and
Alternatives, an acknowledged national expert on jail/prison suicide prevention. The Special
Master’s experts were Jeffrey Metzner, M.D. and Ray Patterson, M.D. Both are acknowledged
experts in correctional mental health services delivery and prison suicide issues.

On July 14, 2006 the consensus panel met in San Francisco for eight hours. In addition to the
_ expert participants, others included Special Master J. Michael Keating, Division of Correctional
Health Care Services Mental Health Program staff (Drs. Chaiken, McAloon, Steenman, Canning, -
and Program Director: Doug McKeever), Teresa Schwartz, Associate Director, General
Population Levels III & IV from the Division of Adult Institutions; Michael Stone, Staff
Counsel, of the California Department of Corrections and Rehabilitation Office of Legal Affairs;
plaintiff's counsel Jane Kahn and Lori Rifkin.

After introductions and a review of the agenda, Drs. Chaiken and Canning presented background

~ anid statistical data on suicides in Administrative Segregation Unit, highlights of the Division of
Correctional Health Care Services suicide prevention policy, mental health services in
Administrative Segregation Unit, and current and recent initiatives to reduce the risk of suicide
in Administrative Segregation Units. In addition, staff presented an overview and the results of
the contributing factors analysis.

Discussion by the participants centered on a variety of issues: environmental/physical plant
factors, screening and evaluation issues, custodial procedures, and monitoring and auditing of .
practices. . .

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RECOMMENDATIONS DISCUSSED AND APPROVED FOR CONSIDERATION BY THE CALIFORNIA
‘DEPARTMENT OF CORRECTIONS AND REHABILITATION

During the afternoon, the panel participants discussed a series of recommendations that should
be considered for inclusion in the plan submitted to the court. The Department i is preparing an
implementation plan for the following recommendations:

A. Environmental/Physical Plant:

1) Intake Cells: A percentage of cells in each Administrative Segregation Unit statewide
should be reserved for new arrivals. Inmates newly housed ‘into Administrative
Segregation Units would be housed in these intake cells. The expert panel recommended
that inmates be housed in intake cells for two to three weeks. The Department
recommends that inmates be housed in intake cells for a minimum of 72 hours. These
cells would be located in areas that afford more opportunity for observation and
interaction between custody staff and the inmate. (Note: Subsequent to the expert panel,
Suicide Prevention and Response Focused Improvement Team determined that if, on
initial arrival in Administrative Segregation Unit, an inmate can safely be housed with a
cellmate, then the inmate would not need to be placed into one of the designated intake
cells, since having | a cellmate has proven to be a protective factor against suicide risk.)

. 2) Intake Cells: All intake cells should be retrofitted to reduce availability of hanging

attachment sites.

a) When possible, beds should be concrete slab construction.

b) Dangerous protrusions should be eliminated and if possible replaced with “pull away”
fixtures.

c) Vent coverings should be. installed to reduce use of vent openings as attachment sites
for ligatures.

d) Light coverings should be retrofitted to prevent use as attachment sites.

e) If possible, cell doors should be retrofitted or replaced with doors having more
window area to increase visibility of cell interior.

B. Custodial Procedures

1) Title 15 Requirements: During the time that inmates are housed in the Administrative -
Segregation Unit intake cells, or are within the first two to three weeks after placement:
into Administrative Segregation Unit, The Department should ensure they receive all

_ Title 15 requirements for out-of-cell time and privileges.

. 2) Confidential Mental Health Interviews: All inmates housed in " Administrative
Segregation Unit who meet with mental health staff should have their interviews in
private settings (affording confidentiality of sight and sound from other inmates and _
confidentiality of sound from staff). Custody should announce these iriterviews as -
“health appointments” to avoid stigmatization and possible retribution of other i inmates.

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3) Reduction i in Length of Stay: The length of time inmates remain in Administrative N \
Segregation Units should be shortened. -

' 4) Return-from-Court (“Bad News”) Information: Inmates returning from court dates often
experience increased distress due to “bad news” such as additional. incarceration time or
adverse court proceedings such as loss of parenting rights. Several institutions have

_ created standardized ways to capture this information and alert mental health staff about
possible mental health crises. Division of Correctional Health Care Services Suicide —
Prevention and Resporise Focused’ Improvement Team should standardize a statewide -
system to capture such information and. communicate that information to mental health
staff utilizing a combination of methods developed at Folsom State Prison and the
California Correctional Institution.

C. Mental Health Screening, Coordination, and Treatment

1) Pre-placement Suicide Prevention Screening: All-inmates placed into Administrative.
- Segregation Unit should have a brief suicide risk screening done as part of their pre-.”
placement medical screening. Results of the brief suicide-risk screening should be used -
Spe to determine any need for further mental health evaluation, and should be noted J in the
ope chart on a chrono. Co oo |

2) Post-placement Screening: All inmates receive the 3 1-item screening according to Mental}.
Health Service Delivery System Program Guide timelines. The screening interview
‘should be administered in a private, confidential setting. If an inmate refuses screening, a
mental health clinician should contact the inmate at cell-front, should review the Unit
Health Record, and should contact custody staff in the Administrative Segregation Unit
to gather additional information regarding the inmate’s mental State.

3) Daily Coordination: By. policy memorandum of May 2005, The Department requires that
pach morning an assigned Licensed Psychiatric Technician should meet with
~ Administrative Segregation Unit-staff (including a Sergeant) to solicit information about
reese new arrivals in Administrative Segregation Unit or inmates who may require clinical
| :attention. Henceforth, this meeting should include the assigned Administrative

: _: Segregation Unit mental health clinician (social worker or psychologist). Suicide risk _
data. on new atrivals should be available at the meeting to alert custody staff. Clinical

/ concerns should. be discussed.

4) Minimum Stay at Enhanced Outpatient: Administrative Segregation Unit Hub Institutions:

When an inmate is referred to the Administrative Segregation Unit Enhanced Out Patient |
* level.of care, there should be a 60 day period of time before the receiving Administrative
Segregation Unit Hub Institution can refer the inmate-patient back to Correctional
Clinical, Case Management System level of care.

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D. Quality Management

1) Auditing Case Manager Review of Rounds Notes: Institutional mental health supervisors
should regularly audit Administrative Segregation Unit case manager’s
assessment/review of the License Psychiatric Technician weekly notes including who
needs referral for further evaluation for higher level of care.

2) Audit of Screening Refusals: Supervisory. staff should regularly audit the percentage of
inmates who refuse initial Administrative Segregation Unit mental health screening
interviews. If the frequency of refusals exceeds 30% in a 30-day period, a Quality
‘Improvement Team should be created to determine the cause of the refusals and a
strategy to improve voluntary participation by inmates in the screening process.

3) Audit of Administrative Segregation Unit Suicide Prevention: Regional Quality
Management Assistance Teams should regularly audit the quality of suicide prevention
efforts statewide in Administrative Segregation Unit including adherence to all Mental
Health Services Delivery System Program Guide requirements, evaluation: of the quality
of screening and rounds, quality of the daily. staff meeting, adherence to suicide
prevention measures such as provision of an inmate-orientation pamphlet, and

- compliance with out-of-cell contacts. A Report should be sent through the chain of
command to the Health Care Manager and Warden of each institution, and reviewed by
the Suicide Prevention and Response Focused Improvement Team.

RECOMMENDATIONS DISCUSSED AND CONSIDERED, NOT APPROVED FOR IMPLEMENTATION

Recommendation:
Inmates in Administrative Segregation Unit for non-disciplinary reasons should be placed in
different housing and/or receive more property than is allowed in disciplinary segregation.

Explanation for rejected recommendation:

The Division of Adult Institutions believes these recommendations would be contrary to
the best interests of the. Department of Corrections and Rehabilitation, and inmates
remanded to the custody of the Department.

Providing inmates who are in Administrative Segregation Unit for non-disciplinary
reasons with more personal property than those who are in Administrative Segregation
Unit for disciplinary reasons may create a greater threat to them. The Division of Adult
Institutions believes that inmates allowed additional property would be subjected to
» pressure in the form of threats of physical attack, and psychological torment. This
pressure would be intended to influence those inmates into relinquishing their personal
property to other inmates placed in Administrative Segregation Unit for disciplinary
reasons. Passing of property from cell to cell is often accomplished by means of ripped
cloth made into a string, called a “fish line”. In addition, this change would readily
identify inmates processed into Administrative Segregation Unit with their property ‘as

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being confidential informants or as needing special protection from General Population
inmates. Any of these circumstances would make the non-disciplinary inmates difficult to
house on any general population facility for the remainder of their prison term.

Attempting to accomplish this by separating inmates within the housing unit may work
for short periods of time, but Administrative Segregation Unit populations vary too
significantly to rely on the disciplinary/non-disciplinary qualifier as a secure and practical
determinant of housing. Some institutions may be able to utilize different tiers or
sections of housing units to separate these populations, however, the demands on bed-
space would ultimately result in these populations being housed in proximity to one
another.

Due to the Department’s current housing crisis, separate housing for inmates placed in
Administrative Segregation Unit for disciplinary . reasons than those placed in
Administrative Segregation Unit for non-disciplinary reasons is unreasonable. This
modification would seriously impact available bed space for both Administrative
Segregation and General Population housing. -In addition, this change would require
significant housing and staff resources, including separate housing units for disciplinary
and non-disciplinary Administrative Segregation Unit placement. The change would
require the Department to activate numerous additional custody positions to ensure that
escorts to medical, dental, mental health, legal and law library appointments are
conducted safely within departmental policy.

In addition, an inmate’s placement status into Administrative Segregation Unit is not

usually as simple as disciplinary/non-disciplinary. Many inmates who do not have

pending disciplinary issues, but fear for their safety, have this fear as a result of behavior
"that is inconsistent with departmental expectations. Examples of these behaviors may be

participating in narcotics activity for which the inmate fails to pay for, or participating in

gang activity for which the inmate is unable to follow through with activities that the
- gang has ordered one to do. .

In conclusion, separating inmates placed into Administrative Segregation Unit based on
the disciplinary/non-disciplinary qualifier is not a process that serves the best interest of
the safety and security. Inmates placed into Administrative Segregation Unit are done so
with a goal of Administrative Segregation Unit being. a temporary housing. The

- department provides significant resources to the expeditious transfer of inmates out of an
Administrative Segregation Unit. These are some of the reasons why issuing property to
inmates housed in Administrative Segregation Unit is not done. If inmates who were not
housed in Administrative Segregation Unit for disciplinary reasons were issued their
property, this would create workload for the staff, an impression that those inmates with
possession of their property were confidential informants, and would significantly affect
the already overburdened housing crisis that exists in all of our prisons.

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Recommendation: .
Custody hourly rounds standard should be increased to include a welfare check to determine
that every inmate is, at minimum, alive and not in life-threatening distress.

Explanation for rejected recommendation:

Currently, the Department requires custody staff to perform many activities during the
course of their daily duties while assigned to an Administrative Segregation Unit. These
duties include, but are not limited to the following:

Feeding

Escorts to and from exercise yards

Escorts to and from appointments

Escorts to and from services (library, classification)
Clothing exchanges

Escorts to and from showers

Cell searches

Housing newly admitted inmates

Releasing discharged inmates

Escorts to and from interviews with staff (custody, medical, clinical, etc.)
Counts

Security checks

During the course of performing these duties, staff observe activities within the unit,
including in-cell behaviors, for security concerns.

Requiring an hourly ‘Welfare Check’ in the Administrative Segregation Unit would
further strain the resources available to the Department. Although research of a national
standard for “Welfare Check’ may provide a more specific expectation of custody staff to
complete a welfare check, there is insufficient information at this time. .

As there appears to be no readily available “national standard”, the Department needs to
obtain information from other agencies that are tasked with the responsibility of
managing prisons and jails to better research and evaluate what constitutes a ‘Welfare
Check’. We have been unable to identify a “national standard” through a search of the
American Correctional Association and the National Institute of Corrections.

Currently, custody staff assigned to Administrative Segregation Units are required to.
perform hourly security checks. Based upon the current Suicide Prevention meetings, it
does not appear that the terms ‘Welfare Check’ and ‘Security Check’ are synonymous. .
The Department needs to develop a reasonable definition of a ‘Welfare Check’ in order to -
determine if it is reasonable to expect that the task be completed in conjunction with the
current “Security Checks’. If the “Welfare Check” is a more involved process, The

_ Department will need to assess the impact on employee workload to determine if
additional resources are required to ensure that the recommended functions can be

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performed. A review of post orders from three different institutions indicates that the
functions for a security check vary but generally include the following activities:

A visual check of the overall housing unit for any apparent security concems .
A visual check of all cells to determine if anything unusual is apparent

A visual check of all tools and equipment assigned to the unit

A visual check of all locking devices

A visual check of all inmates to ensure no harm has come to them

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Although the definitions of ‘Welfare Check’ and ‘Security Check’ may differ, the goals
and expectations of the activity are similar. Correctional Officers are accustomed to
observing inmates within the cell during their daily rounds. Whether these rounds are
performing the function of feeding inmates, showering inmates, or walking the tier to
remove an inmate from the cell for escort to other services, a Correctional Officer is
trained to react to observations of inmates in distress.

The Division of Adult Institutions is unable to proceed with the recommendations of the
experts as they relate to hourly Welfare Checks. However, Division of Adult Institutions
will re-evaluate the impact of implementation of this proposal when the term ’Welfare
Check’ has been appropriately defined.

IMPLEMENTATION PLAN DETAILS WILL REQUIRE:

Al) Intake Cells:

¢ The implementation of Administrative Segregation Unit Intake Cells will require a
site-by-site operational review by the Department’s Division of Adult Institutions in
order to determine the appropriate number and location of cells. The Division of
Adult Institutions will determine the number and location of all proposed
Administrative Segregation Unit Intake Cells by September 30, 2006.

A2) Retrofit Intake Cells:
¢ The preliminary cost estimate, plan to obtain funding, and a schedule for completing
- cell modifications will be submitted with the final suicide prevention plan by October
2, 2006. .

B1) Title 15 Requirements:
e Title 15 requirements for out of cell time and privileges will be insured for all inmates
during the first three weeks after placement in the Administrative Segregation Unit.
e Additional information will be included in the October 2, 2006 plan.

B2) Confidential Mental Health Interviews:

e A Budget Change Proposal has been submitted to the Special Session of the
Legislature that includes dedicated custody personnel assigned to Administrative

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Division of Correctional Health Care Services 9/5/2006
Administrative Segregation Unit Suicide Reduction Plan

Segregation Unit mental health escorts and additional clinical staff for Administrative
Segregation Unit units statewide.

e Current estimates indicate that appropriate space in Administrative Segregation Unit
can be prioritized for this purpose.

'B3) Reduction in Length of Stay:
e Additional information will be included in the October 2, 2006 plan.

B4)  Return-from-Court (“Bad News”) Information:
e This policy change will be implemented system wide by December 2006.
© Update of Mental Health Services Delivery System Program Guide — Annual revision
January 2007.

C1) —Pre-placement Suicide Prevention Screening:
e Implementation by June 2007.

C2) _ Post-placement Screening:
. © Memorandum system-wide requiring "enforcement of current policy and
implementation of new requirement — On or before October 2, 2006.
e Update of Mental Health Services Delivery System Program Guide — Annual revision
January 2007.

C3) ‘Daily Coordination:
. e Memorandum system-wide requiring enforcement of current policy and
implementation of new requirement — On or before October 2, 2006.
e Update of Mental Health Services Delivery System Program Guide — Annual revision
January 2007.

C4) Minimum Stay at Enhanced Outpatient Administrative Segregation Unit Hub
Institutions:
e Memorandum system-wide implementing new ‘Tequirement _ On or before
October 2, 2006.
e Update of Mental Health Services Delivery System Program Guide - Annual revision
January 2007.

D1) Auditing Case Manager Review of Weekly Rounds Notes: |
e Memorandum system-wide implementing new requirement — On or before
October 2, 2006.
¢ Update of Mental Health Services Delivery System Program Guide — Annual revision
January 2007.

-D2) Audit of Screening Refusals:
e Audit system development by October 2006.
° Memorandum system-wide requiring audit November 2006.

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Division of Correctional Health Care Services . 9/5/2006
Administrative Segregation Unit Suicide Reduction Plan

e Quality Management Assistance Team initial audit of compliance at selected
institutions January 2007.
e¢ Quality Management Assistance Team audit of all institutions March 2007.

D3) Audit of Administrative Segregation Unit Suicide Prevention:
¢ Quality Management Assistance Team initial audit of compliance at selected
institutions January 2007.
¢ Quality Management Assistance Team audit of all institutions March 2007.

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Exhibit C

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~~ September 18, 2006
VIA EMAIL AND REGULAR MAIL

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‘Michael Stone

California Dept: of Corrections
Legal Affairs Division.’

1515 S Street, Room 3148
Sacramento, CA 95814-0001

Re: Coleman V. Schwarzenegger
~ Plaintiffs' Comments on Draft ASU Suicide Prévention Plan
Our File No. 489-3

Dear Mr. Keating, Ms. Tillman and Mr. Stone:

In order to make the upcoming teleconference discussion of the draft ASU Suicide
Prevention Plan more useful, plaintiffs are providing these written comments. The

'. meeting of the Coleman parties with the Expert Panel on July 14, 2006 developed many

‘valuable recommendations for reducing the high rate of suicides in the CDCR’s

Administrative Segregation Units (“ASUs”). Plaintiffs were particularly pleased with the

candor of CDCR’s suicide experts: Thomas White, Bill Kissel and John Stoner, each of
- whom provided valuable suggestions during the meeting. We assume that they will
participate in the follow-up teleconference.

‘ MEMBER OF THE CONNECTICUT AS WELL AS THE CALIFORNIA BAR

* MEMBER Of THE CONNECTICUT AND NEW YORK BAR .
ne MEMBER OF THE ILLINOIS BAR

iegae MEMBER OF THE ILLINOIS AS WELL AS THE CALIFORNIA BAR

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We have two general comments regarding the Draft Suicide Plan:

First, the Draft Plan fails to acknowledge and respond to the CDCR’s decision to .

reduce clinical care to both MHSDS and non-MHSDS inmates housed in ASUs..
Although the relevant provisions have not yet been approved (or rejected) by the Court,

Chapter 7 of the defendants’ Revised Program Guide, which governs mental health care
in ASUs, incorporates defendants’ proposals to (1) reduce daily psych tech rounding for
non-MHSDS inmates from daily rounding to once a week rounding, and (2) reduce .
individual case manager contacts for 3CMS inmates from every week to every other
week. Revised Program Guide, 12-7-4, 12-7-6. Despite recent suicide prevention
training by the CDCR, the ASU siticide rate remains extremely high in 2006 (so far more
than 50% of the suicides have occurred in ASUs). If defendants are permitted to~
implement these two provisions of their Revised Program Guide, the rate of such suicides
is likely to increase beyond these already extremely high rates. Plaintiffs object to this
reduction in care in the ASUs and insist that defendants’ Suicide Plan address this
proposed reduction in care in the ASUs.

Second, various elements of the Draft Plan are incomplete and must be developed
further before the plan is submitted to the Court. Many of the recommendations in the -
- draft plan do not include any details about how they will be implemented (what resources
"are needed, including staffing, capital projects, policy changes, procedure changes, .
contract changes, details about who will be the responsible party to ensure the change).
Such details are essential if the recommendation is to be effectively implemented.

We begin our comments by discussing two key recommendations by the suicide
experts that CDCR rejected:

1. Inmates housed in Administrative Sepregation f for non-disciplinary reasons
should be placed in different housing and/or receive more property than allowed i in
disciplinary. segregation.

At the meeting, there was consensus among the suicide experts that providing
inmates housed in segregation for non-disciplinary reasons with more property would
help reduce suicides in ASUs. However, the CDCR rejected this recommendation for a
variety of prison administrative reasons and because defendants contend that such a
policy would endanger the inmates who are provided with the property. The experts who ©
made this recommendation have experience with systems where non-disciplinary
. Segregation inmates are provided with more property and activities, including for
example, Colorado Department of Corrections, the Federal Bureau of Prisons and
CDCR’s own Pelican Bay State Prison.’ These concerns did not exist in these systems.

1 Inthe Federal Bureau of Prisons, inmates placed in Administrative Detention (for safety reasons, pending transfer,

pending investigation or trial for a criminal act, pending an investigation or hearing for a violation of a Bureau

regulation), consistent with available resources and the security needs of the unit, have the same privileges given to
(continued on next page).

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Plaintiffs’ security expert, Walter “Kip” Kautsky?, has experience with many correctional
systems, and does not share CDCR’s concerns.

Other reasons cited by defendants for their rejection of this recommendation relate
to increased workload, which is a factor that should be identified in the Suicide Plan and
included in any budget request submitted as part of a Suicide Plan. This is a life-or death
issue — cost should not be the primary factor in deciding whether to adopt a particular
approach. Moreover, defendants have already identified a discrete group of ASU. inmates
(Level IV EOP SNY patients) who can be segregated in housing spaces and provided
with additional property and programming. Defendants have simply not moved forward
on this critical recommendation. Plaintiffs object to the rejection of this important .
recommendation on the basis of vague and unsubstantiated safety and security assertions.

2. Custody hourly rounds standard should be increased to include a welfare check
to determine that every inmate is, at minimum, alive and not in life-threatening distress.

Hourly custody “welfare checks” were endorsed by all of the experts as a step to
reduce suicides in ASUs. Lindsay Hayes, plaintiffs’ expert, proposed the adoption of the
American Correctional Association standard for “welfare” checks, a standard that is used
in more than 20 state prison systems nationwide, and the Federal Bureau of Prisons.”

The ACA standard provides that:
All special. management inmates (which includes ASU, protective custody and

disciplinary detention) shall be personally observed by a correctional officer at least

every 30 minutes at an irregular schedule. Inmates who are violent or mentally
disordered or who demonstrate unusual or bizarre behavior shall receive more frequent
observation, ACA, 4-4257..

After Associate Director Teresa Schwartz indicated that 30 minute “welfare
checks” would be impossible, defendants’ expert panel adopted the hourly “welfare

check” standard as a compromise. Plaintiffs’ expert Hayes advised that 30 minutes

welfare checks rather than 60 minutes checks could have an appreciable impact on the
reduction of ASU suicides.

inmates in the general population. This includes, but is not limited to the opportunity to participate in education,
library services, social services, counseling, religious guidance, recreation, commissary privileges and reasonable
amounts of personal property, including a radio. P.S. 5270.07[d], Chapter 9, page 9, attached hereto. At Pelican
Bay State Prison, the Pilot ASU Program provides 3CMS placed in ASU for non-disciplinary reasons the _
opportunity to have additional property including televisions, radios and recreational art supplies.

? Mr. Kautsky has served as the Director, Executive Director or Deputy Secretary of various Departments of
Corrections, including Iowa (1997-2003), North Carolina (1992-1997), Colorado (1987-1989), Washington (1982-
1987), and has served as Special Master and expert witness in numerous prison class action lawsuits.

3 There are at least 24 ACA accredited prison systems that provide the 30 minute rounding standard in their ASUs

_ including Illinois, Ohio, Pennsylvania, New York, Texas, Florida and Colorado, as well as the Federal Bureau of
- Prisons.

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Defendants’ basis for rejecting this recommendation is unwarranted. According to
defendants: (1) they have been unable to discern what a “welfare check” entails (despite
‘the fact that the standard has been provided to defendants by plaintiffs’ expert as well as.
through defendants’ own internet search)‘; and (2) once they determine what a “welfare
check” is and if it involves more work than a security check, they will need to assess the
impact on the employee workload to see if they will need additional resources. During
the meeting with the experts, Associate Director Schwartz clarified that security checks
were not “welfare checks”. The CDCR must do an assessment of the employee workload
impact to determine the additional resources needed in order to conduct hourly “welfare
checks” at a minimum. Plaintiffs’ position remains that CDCR should adopt the ACA
standard of “welfare checks” every 30 minutes at an irregular schedule in their ASU units
- because they fail to meet existing Title 15 standards in these units, they fail to provide
inmates housed in segregation for non-disciplinary reasons with additional property or
‘programming, because their suicide rate within the unit is so high and because CDCR
currently plans to significantly 1 reduce clinical care. within these housing units. —

‘In light of the widespread consensus that a disproportionate number of suicides
occur in ASUs, as well as consensus that isolation and lack of human contact create
decompensation and increased risk of suicide, plaintiffs remain puzzled why the CDCR

will not devote correctional manpower to this issue. Any corrective action plan to reduce
- suicides in the ASUs will remain ineffective‘ without effective staffing, and the initiation
and maintenance of a 30 minute welfare check policy.

Omitted Recommendations From the Plan |

1. Addressing the risk of single-celling i in administrative segregation.

The Draft Report suggests that the Intake Cells solve the risk of single celling. .
inmates in ASUs, which was identified as a serious problem i in the Report on Suicides
Completed i in the California Department of Corrections in Calendar Year 2004 [“Special
Master’s Suicide Report”] at 13-14. Unfortunately, the Plan recommends the use of the
Intake Cells for 72 hours versus the two to three weeks recommerided by the expert
panel. Regardless of the length of stay in the Intake Unit, after discharge J from the Intake
Unit, the risk of single-celling remains while he or she is housed in ASU.’ In fact,
defendants’ own suicide data presented at the July 14, 2006 meeting indicates that longer
‘Stays in ASU are also correlated with increased suicide risk.

* On July 25, 2006, Robert Canning, PhD, a 2 participant at the July 2006 Suicide Planning Meeting posted on the
National Institute of Corrections site requesting information about the ACA standards, and received responses from
Virginia, Arkansas, Florida, Ohio regarding the ACA standards for welfare checks. See printout of July 25, 2006
posting attached hereto. On August 23, 2006, plaintiffs counsel faxed a copy of the Standards for Adult
Correctional Institutions, ACA, to Michael Stone, CDCR Legal. See copy of fax to Michael Stone, dated 8/23/06,
attached hereto. —

° In our review of the Suicide Reports received to date for 2006, we have received suicide reports for 12 of the 18
ASU suicides. Ail 12 were single-celled in ASU. Six of the 12 had been housed in ASU for two months or r longer
"in single-cell status (Bustamante, Reyes, Murga, Sullivan, Gonzalez, Blizzard)

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The Plan must develop a statewide procedure that will ensure that inmates housed
in ASUs are double-celled unless there are clear indicators otherwise. The various
memoranda distributed to the field have been ineffective in addressing this risk factor. It
is also unclear whether the obstacles to implementing a policy change have been clearly
identified so that when a new statewide procedure is created it will i in fact be successfully
- implemented. .

2. -The Use of the New Suicide History Tracking System in the Draft Plan
Components.

It is widely accepted that ptior suicide attempt history 1 is one of the most important
_ indicators that a person is at greater risk of future suicide.° Defendants have not,
however, incorporated their Suicide History Tracking System into the Draft Plan for use
during the screenings that have been highlighted at both pre-ASU placement and post-
ASU placement. During both of these screenings, the screener should be directed to
check for suicide history in-the MHTS or in whatever computerized system is being
utilized for tracking system history for non-MHSDS inmates. For the pre-ASU
placement, this information is critical for determining whether the inmate needs any

- further mental health evaluation, in particular since the inmate may not receive the 31-
item screening for 72 hours. The first 72 hours is a very high risk period after ASU
placement.

The Draft Plan discusses the use of suicide risk history daring the daily morning
“meeting in ASUs. This data would be available to alert custody staff. The Draft Plan
does not clarify how suicide risk factors will be utilized by custody and/or clinical staff to
. make decisions in the unit, including presumably where to house the inmate (retain in the
_ Intake Unit or move to.another cell), single or double cell, prioritize for yard or other
- activities, increased rounding or supervision. How will this information be utilized?
Training issues are discussed further below in the section on Emergency Response.

3. Addressing Emergency Response by Correctional Officers.

Among the additional items discussed by the suicide experts and by CDCR staff at
the July 14, 2006 meeting was the responsibility of custody officers to provide CPR.
Despite Judge Karlton’s June 9, 2005 Order directing CDCR to develop and implement a
_. policy requiring custody officers to immediately implement CPR, numerous recent .
Suicide Reports have identified failures by custody officers (and some medical staff) to
immediately implement life support measures after discovering an inmate who has
: attempted suicide. 7 .

§ Suicide Prevention in Jails and Prisons, Jeffrey Metzner and Lindsay Hayes, at 140-142 in Textbook of Suicide
. Assessment and Management, Simon and Hales, American Psychiatric Publishing, Inc. , 2006; How To Identify
Suicidal People, Thomas White at 27-28, Charles Press Publishers, Inc. 1999.
- 7 See, e.g. McGuire, E-30244 (SAC: January 13, 2006: CPR delayed 13 minutes); Patterson, H-86622 (SVSP,
January 20, 2006: 8 minutes to open cell door); “Arviso, T-05182 (SVSP, March 16, 2006: No CPR by COs who

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During the meeting with the experts and CDCR staff, Associate Director Schwartz
informed the participants that the CDCR was aggressively investigating failures to
comply with Judge Karlton’s Order. Responding to emergencies in locked housing units
_ is more difficult because of the locations and the higher security requirements, including
the rules regarding cell entry. The Draft Plan does not include any specialized custody
training for these high stress housing units, such as emergency response procedures that
may be unique to administrative segregation and security housing units, where the
majority of suicides occur.

Plaintiffs suggest that specialized training, including additional emergency
response training for ASU staff, should be mandated as part of the Plan. A budget and
schedule for this training should be included in the F inal Plan. .

Comments on Recommendations Approved. by CDCR in Draft Plan

- A. 1 Intake Cells: Plaintiffs endorse the recommendation for the creation of
intake cells in each ASU statewide for new. arrivals to the units. The Plan should specify
the percentage of cells in order to prepare necessary budget requests.

As part of the retrofit, the large mesh ventilation screens in the intake cells will be
replaced with safe coverings. This has been the subject of another court order directing

. defendants to develop a plan to address the hazard of large mesh ventilation screens in

ASUs housing mentally ill inmates. 6/9/05'91-Order. As the parties and the experts

learned during the July 14, 2006 meeting, the cost of replacing these vents may not be the

_ tremendous financial undertaking proposed last year by CDCR. Depending on the —

‘percentage of ASU cells that willbe retrofitted as Intake Cells, the CDCR should

consider modifying additional ASU cells for long-term MHSDS inmates who appear at

- risk for suicide based upon defendants’ own data.

Finally, it is unclear whether the Draft Plan envisions the creation of Intake Units
in the Stand-Alone ASUs* and in the EOP ASUs. The Stand-Alone ASUs present a —
unique challenge because of their poor cell door visibility and large-mesh ventilation
screens that make it easy to thread a sheet for hanging. The Stand-alone ASUs, which
comprise a small percentage of the total ASU beds, have already had two suicides in
2006 (and a total of at least 5 suicides since 2004). What are the Plan’s provisions for
‘these two ASU programs?

waited for LVN); Gonzalez, V-49628 (ISP, May 1, 2006: No CPR initiated by COs who waited for MTA); St.
Jovite, P-84686 (Solano, May 10, 2006: No CPR initiated by CO or MFA who waited 19 min for paramedics who

' initiated CPR); Huff, T-06010 (SQ: May 22, 2006: No CPR by COs at cell front, taken to TTA for CPR); Velton,
W-40635 (CCWE, June 5, 2006: 17 min delay in calling for ambulance); Murga, V-23532 (SAC, July 8, 2006: could
not find ambu-bag in unit; ;no ambulance at stand-alone ASU; CPR discontinued in transport).

® The Stand Alone ASUs are the ten units build system-wide that are “Super-Max” units without windows which
cannot be used to house MHSDS inmates. Unlike Pelican Bay SHU, however, there is no special screening to
exclude inmates with a prior history of suicide attempts.

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B.1. Title 15 Requirements: This section acknowledges that CDCR is not

_. providing inmates housed in ASUs with their Title 15 requirements for out-of-cell time

_and privileges. As a result, ASU time is harsher now than it has been within CDCR.
Rather than propose adding additional correctional staff, walk-alone cages for more yard,
more in-cell recreational materials, the Plan accepts the fact that most ASU inmates will
not receive basic yard, showers and other privileges and focuses on providing these .
basics to those inmates housed in the Intake Unit (which is “safe” housing). Does this
make sense when determining who.is most at risk in the ASU and needs out-of-cell time
(and presumably social contact during that time)? The data indicates that long term ASU

"placement is also a suicide risk factor.

Again, the Plan should identify the needed staffing resources and additional
funding needed to provide inmates housed in ASUs with their out-of-cell time and
privileges. The Court has directed CDCR to seek those resources as necessary.

B.2. The requirement to provide confidential mental health interviews is not a
new requirement. Placing this provision in the Suicide Plan without identifying the
resources needed to finally ensure its implementation guarantees that it will make little
progress.’ What additional resources are needed-to ensure that confidential mental health
interviews can happen? Do units need more escort officers? Are there no private office
spaces for escort officers to bring the inmates? Does it vary by institution? Was each
prison queried about this recommendation and have the obstacles been identified? The
_ Coleman monitoring process has undoubtedly identified the obstacles as part of the
monitoring rounds and each institution can likely provide their own “wish” list for what

° 1s needed to make this recommendation come true.

B.3. Reduction in Length of Stay in ASUs: Again, what is stated here is a goal
but not a plan with specifics that will ensure effectiveimplementation: Institutions |
Division needs to have a sense of urgency about suicides in ASU and must work with
‘Health Care Division to. develop strategies to move inmates out of this dangerous housing
-setting rapidly. There are things that can be:done if both sides of CDCR work together

on this issue. For example, there must be strict guidelines established and enforced for
completing RVR hearings and for following DA referrals so that inmates do not languish |
in ASUs. In the past year, CDCR revised their own regulations (over plaintiffs’
objections) to extend the ICC review of inmates placed in ASU from a 30 day review to
90 to 180-days. Title 15, § 3335. Plaintiffs’ counsel objected to this revision on the basis
that extending the review of ASU placements would necessarily lengthen stays. Finally,
there are groups of inmates housed in ASUs system-wide who are waiting for SNY
placements who cannot be moved because the CDCR has not created sufficient SNY -
beds. The CDCR, through its “Right Mission, Right Prison” process, must review their
ASU lengths of stay and determine how to move these inmates rapidly to > appropriate
housing. These beds must be created. ,

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These are plaintiffs’ suggestions. The necessary plan to implement this critical
recommendation must be developed with Institutions Division and include steps that will
be taken to aggressively reduce lengths of stay for inmates in ASUs — iricluding a process

- for the individual inmate and for the system. Some of these steps simply require changes
-in regulations (which CDCR knows quite well how to do) and others require funding.
- They must be identified for the final Plan.

We hope that these comments will be useful in further development of a final Plan

to address the escalating suicide rate in the ASUs. We look forward to further discussion _
_ of the Plan.

Sincerely,
ROSEN, BIEN & ASARO, LLP

By: Jane E. Kahn
| ~SEKp;

cc: Matthew A: Lopes, Jr.
Coleman Co-counsel
Coleman Experts
Lindsay Hayes
Walter “Kip” Kautzky

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‘STANDARDS

FOR
ADULT CORRECTIONAL |
_ INSTITUTIONS

Fourth Edition .

American Correctional Association

Jn cooperation with the ,
_ Commission on Accreditation for Corrections

January 2003

Updated with corrections from the Errata Sheet
, . Of the 4th Edition, July 1, 2003.

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Section D. Special Management

Section D: Special Management
Note: "Segregation" is the generic term used to encompass administrative segregation, protective ©
custody, and disciplinary detention. (See glossary definitions.)

Principle: Inmates whe threaten the secure and orderly
” management of the institution may. be removed from
the general population and'placed in special units. —

General Policy and Practice

4-4249 a
(Ref. 3-4237) When segregation units exist, written policy and procedure govern their
: operation for the supervision of {nmates under . administrative
segregation, protective custody, and disciplinary detention. -

Administrative segregation: The classification committee or, in an emergency,’ -

- the warden/superintendent may place in administrative segregation an inmate
whose. continued presence in the general population poses a serious threat to -
life, property, self, staff, or other inmates, or to the security or orderly running
of the institution. Inmates in administrative segregation because of behavioral -
problems should be provided with programs conducive to their: well-being.
Inmates pending investigation for a trial on.a criminal act or pending transfer
can also be placed in administrative segregation; this segregation may be for’

' relatively extensive periods of time. -

Protective custody: Inmates requesting or requiring protection from the

‘general population may be placed in protective custody. Inmates in protective

custody should be allowed to participate in as many as possible: of the:
programs afforded the general population, providing such participation does -
not threaten institutional security. Each protective custody case should be

reviewed, frequently with thé goal of terminating the separate housing

assignment as soon as possible.

~ Disciplinary detention: The disciplinary committee may place inmates with
serious rule violations in disciplinary detention only after an impartial hearing:
has determined (1) that other available alternative dispositions are inadcquate
to regulate the inmate's behavior within acceptable limits and (2) that the
inmate's presence iri the general inmate population poses a serious threat to

the orderly operation or secutity of the institution. .

"Total isolation as punishment for a rule violation is not ah acceptable practice;
when exceptions occur, they should be justified by clear and substantiated
evidence and should be fully documented. Se

04250 a oe
‘Ref. 3-4238) - -- The warden/superintendent ox shift supervisor can’ order immediate
- segregation when it is necessary to protect the inmate or others. The
action is reviewed within 12 howrs by the appropriate authority.

Comment: None.

Aduit Correctional institutions, Fourth Edition 69

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8-23-206 1:30PM FROM NCIA/LINDSAY-M-HAYES 5883373083

Part 3: Institutional. Operations

Admission and Review of Status

44-4251 o co
(Ref. 3-4239) ' Written policy, procedure, and practice provide that an inmate is
admitted to the segregation unit for protective custody only when there is
documentation that protective custody is warranted and. no reasonable

alternatives are available.

_ Comment: Protective custody should be used only for short periods of time,
except when an inmate needs long-term protection and the facts are well.”
documented, Admission to protective custody should be fully documented

with a consent form signed by the inmate.  ~

_ 4.4252 e oO
(Ref. 3-4240) Written policy, procedure, and practice provide that an inmate is placed
in disciplinary detention for a rule violation only after a hearing by the

disciplinary committee or hearing examiner.
Comment: None.

* 4-4253 .
(Ref. 3-4241) Written policy, procedure, and practice provide for a review of the status.
of inmates in administrative segregation and protective custody by the
classification committee or other authorized staff group everyseven days
for the first two months and at least every 30 days thereafter.
Comment: A hearing should be held to review the status of any inmate who.
spends more than seven continuous days in administrative segregation and
protective custody to determine whether the reasons for the ‘placement still
exist. ,

4-4254 . a . .

(Ref. .3-4242) Written policy, procedure, and practice specify the review process used

to release an inmate from administrative segregation and protective
custody. oo

Comment: An inmate should be released by action of the appropriate
authority. ' .

4-42.55
- Ref. 3-4243) There is a sanctioning schedule for institutional rule violations,
- Continuous confinement for more than 30 days requires the review and

| approval of the warden/superintendent. Inmates. keld in disciplinary
detention for periods exceeding 60 days are provided the same program
services and privileges’ as inmates in administrative segrégation aud.
protective custody, .
Comment; The time an inmate spends in disciplinary detention should be
propoitional to the offense committed, taking into consideration the inmate's —
prior conduct, specific program needs, and other relevant factors,

Fre See ee ee ee

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94-4256 oo
PO - (Ref. 3-4244) ss Written policy, procedure, and practice provide that a qualified mental
health professional personally interviews and prepares a written report on -
any inmate remaining in segregation for more than 30 days. If confinement

70°° Adult Correctional institutions, Fourth Edition

. Case 2:90-cv-00520-KJM-SCR Document 2008 _ Filed 10/31/06 Page 32 of 49
8-23-2065 1:32PM . FROM NCIA/LINDSAY-M-HAYES 5@83373@83 . PB

— Section D: Special Management

int : ment by a qualified
continues beyond 30 days, a mental health assessmen
mental health professional is made at least every three moxths—more
frequently if prescribed by the chief medical authority.

Comment: Inmates whose movements are restricted in segregation units may.
develop: symptoms of acute anxiety or. other mental problems; regular
psychological assessment is necessary to ensure the mental health of any
inmate confined in such 4 unit beyond 30 days. .

Supervision .

4-4257 oo .
(Ref. 3-4245) Written policy, procedure, and practice require ‘that all special .
management inmates are personally observed by a correctional officer at
least every 30 minutes on an irregular schedule. Inmates who are violent
or mentally disordered or who demonstrate unusual or bizarre behavior
' receive more frequent observation; suicidal inmates are under
continuing observation. -

Ce omment: None.

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4-4258 .
(Ref. 3-4246)_. Written policy, procedure, and practice provide that inmates in.
segregation receive daily visits froin the senior correctional supervisor in
charge, daily visits from a qualified health care official (unless medical d
attention is needed more frequently), and visits from members of the |
program staff upon request. = oo

Comment: Because they are restricted from normal movenient within the a
institution, it is imperative that inmates in segregation are visited regularly by. :
key staff members who can ensure. that their health and well-being are

maintained. uo ,

4-4259 . .

(Ref. 3-4247) Written policy and procedure govern the selection criteria, supervision,
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Comment: Procedures should be established to supervise and evaluate the on-.
the-job performance of al] staff who.work with inmates in segregation, and
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probationary period. The need for rotation should be based on the intensity of
the assignment, -

f e260 oe
- (Ref. 3-4248) Written policy, procedure, and practice provide that staff operating

. segregation units maintain a permanent log. . os

: Comment: The log should contain the following information for cach inmate
admitted to segregation: name, number, housing location, date admitted, type .
of infraction or reason for admission, tentative release date, and special
medical or psychiatric problems or needs. The log also should be used to:
" record all visits by. officials who inspect the units or counsel the inmates, all

unusual inmate behavior, and all releases.

Pe ~ Adult'Correctional institutions, Fourth Edition 71

Case 2:90-cv-00520-KJM-SCR Document 2008

_ ROSEN, BIEN
& ASARO, LLP

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FAX TRANSMISSION

. Attorneys at Law

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_ San Francisco, CA 94104 —

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Case 2:90-cv-00520-KJM-SCR: Document 2008 Filed 10/31/06 Page 35 of 49

Corrections Community -- ACA standards for welfare checks in segregation units . Page | of 4

Corrections Community

OOM A place where corrections professionals can interact and collaborate’

Unsitufe of.
 Comeictions

ACA standards for welfare checks i in segregation units

Last post 08-28-2006, 11: 31 AM by Sat. Rodney Shepherd. & replies.

4172

<i 07-25-2006, 9:36 AM Oe Se
> peanning {ACA standards for welfare checks in segregation units
_ Joined on 07-25-2006 _ —
Posts 2 - oo |
Points 1 6112 Recently, during a panel discussion of ways to prevent suicide in disciplinary
Points 1 segregation units (we call it Administrative Segregation here in California), a .

participant asserted that ACA standards call for 30 minute welfare checks by

custodial Staff assigned to segregation.”
Ido not have ready access to ACA standards but would like to find out if this is
true, the reference for it and if this ts the typical practice. in state correctional _

. Thanks in Advance .-
Robert Canining, PhD
Sr. Psychologist
Mental Health Programs
California Dept. of Corrections-and Rehabilitation
7 08-03-2006, 1:58 Pi 227 in reply to i714
* bigdeepiniowa Re: ACA standards for welfare checks i in segregation _
Joined on 07-14-2006 units
Posts 4
Points 54

in ea fea : aun Aaar

Case 2:90-cv-00520-KJM-SCR_ Document 2008 Filed 10/31/06 Page 36 of 49

Corrections Community - ACA standands for welfare checks in segregation units Page 2 of 4
‘Correctional Officer/STG InteRigence Officer
Towa State Penitentiary =
i 08-11-2006, 2:03 PM _ 327 in reply to 171
MReynoldsRR3 Re: ACA standards for welfare checks in segregation [|
Joined on 68-11-2006 junits . : .
Virginia a oo.
Posts 2
Points 44 Dear Dr. Canning:
I work in an ACA Accredited jail in Virginia. The ACA reference from the Standards
for Adult Local Detention Fadities (3rd Edition) is 3-ALDF-3D-08. ‘The 4th Edition
refence is 4-ALDF=2A-52. | . : : ot
It states:
“All special management inmates are personnaly observed by a correctional officer
at feast every 30. minutes on an irregular schedule. Inmates who are victent or
Mentally disordered or who demonstrate unusual or bizarre. behavior receive mare
frequent observation; suicidal mimates aré under continuous observation until seen
by 4 mental health professional, Subsequent supervision routines are in
accordance with that ordered by the mental-health professional."
I can say that the ACA Accredited Jails I have toured follow this standard.
. T pray this answers your question,
Marvin Reynolds
Maior ne
Riverside Regional Jail _
, 1000 River Road —
P.O. Box 1041
Hopewell, VA 23860
(804} 524-2674
Filed under: Suicide
5 08-11-2006, 3:46 PM | oe . 329 in reply to 327
". Paladinchier | Res ACA standards for welfare checks in segregation -
Joined on 08-11-2006 units a
__ Arkansas
Posts 3
Points 15 ae ao oO,
: We are doing this in the common population as well, We have apen bay barracks
that house S5 Inmates each, 30 buinks on one Floor and 25 on the lower floor.
We have to watk through at a frinimum of twice an hour unscheduled. ,

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CULLELUUNS CUNMMUIMILY - ALA stahaaras tor weltare checks mn Sepregation units Page 3 of 4
(4 08-17-2006, 1:22 PM 396 in reply to 171
Gerald T. Milan, CJM | Re: ACA standards for welfare checks in. segregation
"Joined on 07-07-2006 units mone TO
Jacksonville, Florida
Posts 12
Paints 135 4-ALDF-2A-52 . mo
(Ref. 3-ALDF-3D-08) All. special management inmates are personally
observed by a corréctional officer at least every
30 thinutes on an irregular schedule. Inmates
who are violent or mentally disordered or who
demonstrate’ unusual ‘or bizarre behavior
veceive more frequent - observation; - suicidal
inmates are under continuous observation until
Seen “by 28 mental health professional. |.
Subsequent supervision routines are * in
accordance with that ordered by the mental
health professional. a
Comment: None. / .
Protocols: Written policy and procedute, Staffing
plan. Log format. ,
Process Indicators: Facitity records and logs,
_ Documentation of coll checks. -
‘| Lieutenant Gerald T. Milan, CJM
Jacksonville Sheriff's Office
Department of Corrections
500 East Adams Street
Jacksonville, FL 32202 .
Email: Gerald, Milan@ijaxsheriff.org
Phone: 904-630-5744 —-
Fax: 904-630-7550" -
"Integrity: Doing the right thing when no one is looking.”
Lieutenant Garald T. Milan, CIM
Jacksonville Sheriff's Office ©
Department of Corrections
500 East Adams Street. .
Jacksonville, Fl. 32202 :
_ Email: Gerald. Milan@jaxsheriff.org -
Phone: 904-630-5744 .
Fax: 904-630-7550 ,
< 08-19-2006, 5:24 AM. 435 in reply to 171
Gibson Re: ACA standards for welfare checks in segregation
“Joined.on 08-19-2006 «| UNits- | Do CO
Points 76 _ | Ohio minimum Standards call for 10 minute checks at irreguiar intervals for
. | Miate's on special needs status (high risk, suicidal, restrained, etc.) and yes, we
oe do practice this, oe a oo

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Case 2:90-cv-00520-KJM-SCR Document 2008 © Filed 10/31/06 Page 38 of 49

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Lo 1 __ I
5 08-20-2006, 1:12 PM " 440 in reply to 435

_ Feanning
Jained on 07-25-2006

Re; ACA standards for welfare checks in segregation
units oC .

” US Gibsons ,
Ohio minimum standards call for 10 minute checks at ireguiar _ coe
intervals for inmate's on special needs status (high tisk; suicidal,
restrained, etc.) and yes, we do practice this, _- .

My question has to do with inmates in state facilities who are in disciplinary -
Segregation and are not on special needs status, Do you know what the ACA

standard Is for these folks?. Thanks,

B40 in reply to 440

‘3 OB-24-2006, 5:19 PM
_ ‘Gibson

Joined on 08-19-2006

’ Pasts §
Points 76

{units ,

Re: ACA standards for welfare checks in segregation

‘Sorry about that. -Our admin. seg. inmates are checked every hour atirreguiar =
intervals along With the rest of the population. If we feel they are Suicidal, special
needs, etc. they aré moved into a different unit and the checks are bumped up.

‘3 08-28-2006, 11:32 AM

_ Bid in reply to 171

Sgt. Rodney Shepherd
Joined on 08-23-2006
Little Rack AR
"Posts 1
Points 5

Re: ACA standards for welfare checks in segregation
units os .

| Here in Little Rock we also call it administrative segregation: We require irregular

| Training Coordinator

checks at no mare than 15 minute intervals. This has worked quite well for us,

Sgt. Rodney Shepherd

Pulaski County Shemif’s Office

Widen Mander ntatn 22 ULL.

te 4a,

et tle

Case 2:90-cv-00520-KJM-SCR Document 2008 Filed 10/31/06 Page 39 of 49

- Exhibit D

California Dept. of Corrections and Rehabilitation

Suicide in Administrative Segregation Units

Clinical Experts Consensus Forum

July 14, 2006

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a & Non-MHSDS

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Exhibit E

Case 2:90-cv-00520-KJM-SCR Document 2008 _ Filed 10/31/06. Page 43 of 49

STATE OF CALIFORNIA -—DEPARTMENT OF CORRECTIONS AND REHABILITATION : ARNOLD SCHWARZENEGGER, GOVERNOR

" FACILITIES MANAGEMENT

1515 S Sweet, Sacramento, CA 95814
P.O, Box 942883
. Sacramento, CA 94283-0001

July 8, 2005

Mr. J, Michael Keating Jr. via: Ms. Lisa Tillman

Office of the Special Master Deputy Attorney General
2351 Sussex Lane Department of Justice
Fernandina Beach, FL 32034 P.O. Box 944255

Sacramento, CA 94244-2550

Dear Mr. Keating:
RESPONSE TO JUNE 9, 2005 COURT ORDER ~ LARGE MESH VENTS

In response to the June 9, 2005, order signed by Judge Lawrence K. Karlton regarding the
Special Master's Report on Suicides Completed in Year 2003. Specifically, this
. addresses Order #1 “within thirty days from the date of this order defendants shall submit
to the special master a plan for dealing with the hazard of large-mesh ventilation screens
in administrative segregation cells in which mental health caseload inmates are housed.”

BACKGROUND

Facilities Management (FM) has been coordinated a demonstration project at California
State Prison, Corcoran to evaluate the viability of the Anemostat “S” vent suicide
resistant security grille for retrofit situations in cells. The use of ventilation security
grilles as a hanging attachment method has become a significant concern of both the
Coleman and Madrid federal lawsuit Special Masters. The project scope called for the
installation of 20 vents in 10 cells (4 vents in a 180 design; 4 vents in a 270 design;
2 vents in new administrative segregation unit (ASU) cells) with the goal of determining
installation challenges, protocols, and establishing whether appropriate airflows could be
achieved in a retrofit situation.

The FM initially cast a broad net in its research of alternative solutions to retrofitting
existing ventilations grilles; we narrowed the focus to the product commonly referred to
as the “S-Vent” manufactured by Anemostat. We focused on the “S-Vent” after review
of the “suicide deterrence” capability of' the grille designs by numerous departmental
correctional experts from Custody, Health Care, and Maintenance. Those designs
included the 5/16” opening configuration installed in the Department’s 10 new ASUs; the
“a” opening DCG design commonly installed in cells constructed under the Department’s
new prison construction program; the 3/16” opening Board of Corrections design; and the
Anemostat S-Vent interlaced baffle design,

As indicated in our March 15, 2005, report “Initial Review of Heating, Ventilation, and

Air Conditioning Vents in Celled Housing” the consensus of the correctional experts was
that the size variations of the hole design offer little or no significant deterrence to an

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Mr. Michael Keating
Page 2

inmate intent on suicide. On several occasions, staff readily demonstrated the ability to

“quickly thread materials through even the smallest openings (3/16”) in a manner that
would be robust enough to create a hanging mechanism. This appears to be validated by
published vendor caveats that their respective products are not suicide proof. On the
other hand, the same correctional experts felt that Anemostat’s integrated baffle design
was consistent with their claim that their product “virtually eliminates suicide by
hanging.” However, the correctional experts raised other significant concems regarding
the Anemostat “S-Vent” design: restricted airflows, security of installation, and
maintainability.

The following is a summary of our efforts to assess the viability of the “S-Vent.” On

January 13, 2005 department staff, with on-site over-the-shoulder guidance from

-  Anemostat representatives, installed of 6 vents in vent cells (one in a 270 cell, one in a

180 cell, and one in a new ASU cell). By January 28, 2005, Department staff completed

- the rest of the demonstration project installations. The need to procure a product specific

caulking gun delayed the scheduling of follow-up airflow and pressure drop

measurements. On February 17, 2005, the vendor completed the follow-up airflow and

_ pressure drop measurements and verbally reported to California Department of

Corrections and Rehabilitation (CDCR) that the follow-up readings were favorable.

However, when the vendor provided their written report, significant drops in airflow were
indicated.

-The Department informed the vendor that the reported reductions in airflows were
unacceptable and demanded that they both re-engineer and reinstall mew suicide resistant
vents that at least matched the original airflows, or that they- restore the cells to the
existing conditions. The vendor chose to re-engineer and reinstall new vents.

‘During the week of May 9, 2005, staff from the Department and the Anemostat company

removed the “S-Vent” suicide resistant security air grilles originally installed during the
second week of January 2005 and installed “te-engineered” “S-Vent” air grilles.
Department staff participated in and observed all of the demolition, reinstallation, and air
flow measurement activities.

Staff indicated that the “re-engineered” air grilles appeared to meet the intended air flow
requirements at the time of reinstallation, but expressed concerns based on what was
discovered during the demolition and reinstallation process. Staff reported that when the
previously installed “S” Vents were removed, a significant number of them were clogged
with dust and lint, after only 17 weeks of service. The estimated amount of blockage
ranged from 50-80 percent.

Approximately six weeks subsequent to the installation of the re-engineered vents, a
second set of air flow readings indicated reduced airflows due to blockage. Based on

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Mr. Michael Keating
Page 3

this, the Department does not believe the “S” Vent can be effectively retrofitted into
existing cell environments,

PRESENT AND FUTURE ACTIONS RESPONSIVE TO COURT ORDERS

In light of the adverse outcomes of the “S-Vent” demonstration project, and in order to

address the alleged hazard of large-mesh ventilation screens in ASU ells ‘in which
' mental health case load inmates are housed, the CDCR will:

* Continue to identify, evaluate, and implement operational policies and procedures
that improve the identification of and intervention with potentially suicidal
inmates. This includes, but is not limited to:

© Ensuring full implementation of the Mental Health Program Guidelines,
once approved by the Court.

o Continuing to enforce current departmental policy to double cell ASU
inmates if they meet the criteria.

© Continuing to enforce the current departmental policy of hourly security
checks in ASU.

© Continuing to make staff aware of “exceptional eternal stressors” that can

_ contribute to suicides.

o Continue to pursue that implementation of a systemic approach to
Cardiopulmonary Resuscitation (CPR). |

© Promote increased interaction and information exchange between custody
and clinical staff.

' © Ensuring that Mental Health staff are alerted to new arrivals in ASU
within 24 hours and ensure that Mental Health staff spend extra time with
new arrivals to establish contact arid provide information.

© Continue to pursue improvements in the Suicide Review and Corrective
Action Plan process.

* Prepare a feasibility study to assess the conversion of supply and exhaust grille
openings in ASU cells housing mental health inmates to the Title 24 (local adult.
and juvenile detention facilities) standard of no greater than 3/16 openings. Our

approach is as follows:

© Inventory all budgeted ASU cells to ‘identify existing grille configurations
and opening sizes (Facilities Management to perform within 90 days).

© Determine the number of cells based upon the prevalence of mental health
inmates in ASU and facility operational requirements, on a site-by-site
basis. (Health Care and Adult Institutions to perform within 180 days).

o Develop an initial conversion priority list based on historical suicide rate
data (Health Care, Adult Institutions, and -Facilities Management to
perform within 210 days).

© Identify potential operational altematives in lieu of physical plant
modifications. (Health Care and Adult Institutions to perform within
240 0 days).

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Case 2:90-cv-00520-KJM-SCR — Document 2008. Filed 10/31/06 Page 46 of 49

Mr. Michael Keating
Page 4

o Begin site-by-site assessments to determine scope of work and resource
requirements (FM and outside vendor tom perform within 18-24 months
after completion of above bullet). oe

o Complete a cost-benefit analysis coniparing operational altematives to
physical plant modifications (Health Care, Adult Institutions, Facilities
Management to perform within 90 days from site assessment completion).

© Based upon the outcome of the feasibility study, the CDCR will develop
recommendations and pursue their implementation (To be determined,
dependant on decisions made in aforementioned tasks.). .

Defendants respectfully submit this response to the court in response to its court order
concerning the alleged hazard of large mess screens. We look forward to further
dialogue with you on this issue. Should you have any questions, please contact me at
(916) 324-7500, or Mr. Dovey at (916) 445-6597,

Sincerely,
. .
pb EORGE A. bg he
Deputy Directo _ Director .
Facilities Management Division of Adult Institufions .

pB/P@ Wd oda B8220E9 TB 22:91 S807 /80/28

Case 2:90-cv-00520-KJM-SCR Document 2008 _ Filed 10/31/06 Page 47 of 49

Exhibit F

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Case 2°90-cV-00500-KIM-SCR

- FROM NCIA/L.INDSAY-M-HAYES 5283373083

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STAN DARDS
FOR
ADULT CORRECTIONAL -
_ INSTITUTIONS |

Fourth Edition

American Correctional Association

in cooperation with the

~ Commission on Accreditation for Corrections

January 2003

_ Updated with corrections from the Errata Sheet

of the 4th Edition, July 1, 2003.

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-99-cv-00520-KJM-SCR DoS@@eeeMSQ"""FtatTO/si/os- Page 49 of 49

Section D: Special Management

continues beyond 30 days, a mental health assessment by a qualified
mental health professional is made at least every three months—more
frequently if prescribed by the chief medical authority.

Comment: Inmates whose movements are restricted in segregation units may. .
develop symptoms of acute anxiety or other mental problems, regular
psychological assessment is necessary to ensure the mental health of any
inmate confined in such a unit beyond 30 days.

Supervision

-4-4257 | .

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Comment: None.

4-42.58 |
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program staff upon request.

Comment: Because they are restricted from norma! movement within the a
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key staff members who can ensure. that their health and well- being are’

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(Ref, 3-4247) Written policy and procedure govern the selection criteria, supervision,
and rotation of staff who work directly with inmates in segregation on a
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Comment: Procedures should be established to supervise and evaluate the on-
the-job performance of all staff who. work with inmates in segregation, and
there should be administrative procedures for promptly removing ineffective
staff. Officers assigned to these positions should have completed their
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